            Case 1:14-vv-00790-LAS Document 80 Filed 11/08/19 Page 1 of 3




         In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 14-790V
                                          (Not to be Published)

*************************
MICHAEL MCCOLLUM,           *
                            *                                             Special Master Corcoran
                Petitioner, *
                            *                                             Dated: August 5, 2019
v.                          *
                            *                                             Attorney’s Fees and Costs;
                            *                                             Final Award
SECRETARY OF HEALTH AND     *
HUMAN SERVICES,             *
                            *
                Respondent. *
                            *
*************************

Richard Gage, Richard Gage, P.C., Cheyenne, WY, for Petitioner.

Alexis Babcock, U.S. Dep’t of Justice, Washington, DC, for Respondent.

     DECISION GRANTING FINAL AWARD OF ATTORNEY’S FEES AND COSTS1

        On August 29, 2014, Michael McCollum filed a petition seeking compensation under the
National Vaccine Injury Compensation Program (“Vaccine Program”).2 Petitioner alleged that as
a result of receiving the influenza vaccine in October 2011, he suffered from narcolepsy and
cataplexy. See Petition at 1 (ECF No. 1). An entitlement hearing took place on April 4, 2017, and
five months later I issued a decision denying compensation. See Decision, dated Sept. 15, 2017
(ECF No. 46). Petitioner appealed that determination, was unsuccessful, and then appealed to the
Federal Circuit, where he was again unsuccessful, concluding the matter.

1
  Although this decision has been formally designated “not to be published,” it will nevertheless be posted on the
Court of Federal Claims’s website in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 (2012)). This
means that the ruling will be available to anyone with access to the internet. As provided by 42 U.S.C. § 300aa-
12(d)(4)(B), however, the parties may object to the decision’s inclusion of certain kinds of confidential information.
Specifically, under Vaccine Rule 18(b), each party has fourteen days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged
or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will be available to the public.
Id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660,
100 Stat. 3758, codified as amended at 42 U.S.C. §§ 300aa-10 through 34 (2012) [hereinafter “Vaccine Act” or “the
Act”]. Individual section references hereafter will be to § 300aa of the Act (but will omit that statutory prefix).
            Case 1:14-vv-00790-LAS Document 80 Filed 11/08/19 Page 2 of 3



       Petitioner requested an interim award of attorney’s fees and costs in November 2017, and
I awarded him the sum total of $96,322.41, for work performed on the matter through the hearing
date and up to the date of the interim request. Interim Fees Decision, dated Nov. 28, 2017 (ECF
No. 58) (“Interim Fees Decision”). Now, Petitioner has interposed a final fees and costs request,
seeking an additional award of $81,802.78 for all remaining work performed in this case (primarily
associated with litigating the motion for review to the Court of Federal Claims, followed by the
Federal Circuit appeal). Motion, dated June 13, 2019 (ECF No. 75) (“Final Fees Mot.”).

        As the pending motion indicates, Petitioner requests $73,664.60 for the work of two
attorneys (Richard Gage and Kristen Blume) from early November 2017 through June 2019 and
the preparation of the pending fees motion. Final Fees Mot. at 3–17 (Tabs A and B). For Mr. Gage,
Petitioner requests $318 per hour for 2017 work; $326 per hour for 2018 work; and $338 for 2019
work. Id. at 21–25 (Tab D). For Ms. Blume, Petitioner asks for $251 per hour for 2017–18. Id.
at 27–28 (Tab E). In addition, Petitioner seeks $3,120 in paralegal charges (id. at 30–33 (Tab F)),
$2,313.11 in attorney costs (copying and travel for appellate oral arguments (id. at 35–46 (Tab
G)), and $2,705.07 incurred by Petitioner personally in travel costs associated with the April 2017
entitlement hearing (id. at 48–56 (Tab H)). Respondent reacted to the Final Fees Motion on
June 20, 2019, expressing satisfaction that the statutory requirements for a fees award had been
met, but deferring the calculation of that award to my discretion. Response, dated June 20, 2019
(ECF No. 76).

         Having reviewed Petitioner’s Final Fees Motion and the documents filed in its support, I
find that the motion is well-taken, and consistent with the determinations in my prior Interim Fees
Decision. Although this claim was not successful, it had ample reasonable basis, was litigated in
good faith, and raised complex issues of medicine and science upon which reasonable minds could
differ, so fees are appropriate. Moreover, the rates requested are consistent with my Interim Fees
Decision (as well as other recent relevant decisions),3 and the total hours devoted to the appeals
were largely reasonable. I also find the costs requested are fair.

        Accordingly, in the exercise of the discretion afforded to me in determining the propriety
of interim fees awards, and based on the foregoing, I GRANT Petitioner’s Motion for Attorney’s
Fees and Costs in its entirety. I award (a) $79,097.71 in fees and costs in the form of a check jointly
payable to Petitioner and Petitioner’s counsel, Mr. Richard Gage, Esq., and (b) $2,705.07 in the
form of a check payable to Petitioner. In the absence of a motion for review filed pursuant to RCFC
Appendix B, the clerk of the court SHALL ENTER JUDGMENT in accordance with the terms
of this decision.4

3
 See, e.g., Woolf v. Sec’y of Health & Human Servs., No. 17-908V, 2019 WL 2498774 (Fed. Cl. Spec. Mstr. May 23,
2019) (awarding attorney’s fees to Mr. Gage and Ms. Blume at the rates requested herein).

4
 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment if (jointly or separately) they file notices
renouncing their right to seek review.

                                                           2
 Case 1:14-vv-00790-LAS Document 80 Filed 11/08/19 Page 3 of 3




IT IS SO ORDERED.
                                   s/ Brian H. Corcoran
                                   Brian H. Corcoran
                                   Special Master




                               3
